                                            THE HONORABLE JUDGE TANA LIN
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                          UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 9
     SEAGEN INC.,                          No. 2:22-cv-01613-TL
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                             Petitioner,
                                           JOINT STIPULATION AND
11                                         [PROPOSED] ORDER RE BRIEFING
     v.
                                           SCHEDULE
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     DAIICHI SANKYO CO., LTD.,
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                             Respondent.
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                                                               CORR CRONIN LLP
      JOINT STIPULATION & [PROP.] ORDER                    1015 Second Avenue, Floor 10
      RE BRIEFING SCHEDULE – Page 1                       Seattle, Washington 98104-1001
                                                                 Tel (206) 625-8600
      No. 2:22-cv-01613-TL                                       Fax (206) 625-0900
 1           Respondent Daiichi Sankyo Company, Limited (“DSC”) and Petitioner Seagen Inc.

 2   (“Seagen”) (collectively, the “Parties”) hereby jointly stipulate to set the Noting Date and

 3   briefing schedule regarding Seagen’s Petition to Vacate Arbitration Award (D.I. 1) and

 4   Seagen’s Memorandum in Support of Petition to Vacate Arbitration Award (D.I. 11). The

 5   Parties respectfully propose the Noting Date and briefing schedule as follows:

 6      1.    Seagen’s Petition to Vacate Arbitration Award (D.I. 1) shall be noted on the Court’s

 7            calendar for February 10, 2023.

 8      2.    By Thursday, January 19, 2023, Respondent DSC shall submit its response to the

 9            Petition to Vacate Arbitration Award (Dkt. 1) and the Memorandum in Support of

10            Petition to Vacate Arbitration Award (Dkt. 11).

11      3.    By Friday, February 10, 2023, Petitioner Seagen shall submit any reply to

12            Respondent DSC’s response.

13

14                                                ORDER

15   Pursuant to stipulation, IT IS SO ORDERED.

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17   Dated this 8th day of December, 2022.

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19                                                        Tana Lin
                                                          United States District Judge
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